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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION


Case No. 3:24-cv-02593
ROBERT ALLEN BAUTISTA®,
Plaintiff,
v.
PRICE WATERHOUSE COOPERS LLP,
Defendant.


                                      ORDER REOPENING CASE
Before the Court is the Plaintiff's Motion to Reopen Case (the "Motion"), filed after the Court's previous
ruling to dismiss the case in favor of arbitration. Having considered the Motion, Defendant's response,
and the applicable law, the Court finds that the Motion should be GRANTED.
On 11/20/2024, the Court issued an order dismissing this action in favor of arbitration under the
arbitration clause included in the parties' agreement. However, Plaintiff has now demonstrated, through
evidence of unconscionability, unenforceability, and the defendant’s perpetual fraudulent behavior, that
the arbitration clause should be dismissed or otherwise deemed inapplicable. The Plaintiff's Motion,
therefore, requests that the case be reopened to proceed in this Court.
In light of these findings, the Court hereby ORDERS as follows:
     1. The Motion to Reopen Case is GRANTED.
     2. The case is hereby REOPENED and shall proceed as a litigation matter in this Court, free of any
        arbitration requirement.
     3. Defendant’s request for dismissal of this case under the arbitration clause is DENIED.
     4. The parties are directed to submit a Joint Status Report within [x] days of the date of this order to
        propose a schedule for further proceedings.
     5. The Clerk of the Court is instructed to take the necessary steps to update the case docket in
        accordance with this order.
SO ORDERED this 11/20/2024.


SIDNEY A. FITZWATER
SENIOR JUDGE
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
